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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

VALENTIN FELICIANO, NO. EDCV 21-862-JGB (AGR)
Plaintiff,
JUDGMENT
V.
UNKNOWN DEFENDANT,

Defendant.

 

Pursuant to the Order Accepting Findings and Recommendation of United
States Magistrate Judge,
IT IS ADJUDGED that judgment is entered dismissing the entire action without

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1 States District Judge

prejudice.

  
 

DATED: November 3, 2021

 
